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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF TEXAS



JUSTIN RIDDLE, Plaintiff,

v.

X CORP aka TWITTER, INC., Defendant.



Case No. 1:25-cv-00073-DII



SUPPLEMENTAL COMPLAINT FOR RENEWED INFRINGEMENT AND DMCA

ABUSE



Plaintiff Justin Riddle hereby supplements his Complaint with the following critical

developments:



I. CONTINUED INFRINGEMENT DURING LITIGATION

A. Deliberate Resurgence of Misconduct

In a striking display of hubris and disregard for the judicial process, the individual

misappropriating Plaintiff's likeness has boldly resurfaced on X Corp's platform to

resume their campaign of harassment 6 months after the last violation. Even more

troublingly, this sudden reappearance coincides to the day with the court's issuance

of a subpoena in this matter, raising the specter of insider collusion and obstruction

at X Corp. See below, account created in February, 2025.
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B. Incontrovertible Evidence of Ongoing Violations

Plaintiff has meticulously documented the infringer's renewed misconduct,

compiling timestamped screen recordings that irrefutably establish the scope and

persistence of the infringing posts. This damning video evidence, available at

https://youtube.com/shorts/ZbrC9YCi8nI, leaves no doubt that X Corp has once

again failed to act in the face of blatant, repeat offenses it is fully aware of - a

disturbing echo of the willful blindness that first necessitated this action.



C. Willful Disregard of DMCA Obligations

As with each prior instance of infringement, Plaintiff dutifully availed himself of X

Corp's designated DMCA takedown process, submitting detailed notices that

identified the specific posts and accounts at issue. Yet in keeping with its pattern of

selective enforcement, X Corp has neither removed the offending content nor

suspended the repeat infringer - deliberate inaction that amounts to willful

blindness under the standard articulated in *BMG v. Cox*. X Corp's failure to
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address open and notorious infringement it has actual knowledge of represents a

wholesale abandonment of its legal duties as a service provider.




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II. PLATFORM ARCHITECTURE FACILITATING ABUSE

A. Strategic Interface Obfuscation

Compounding its misconduct, X Corp has made the unconscionable yet clearly

intentional choice to design its platform in a way that actively conceals harassment

from those targeted by it. By requiring victims to proactively search out abusive

content directed at them rather than centrally flagging such material, X Corp has

created a "head in the sand" system calibrated to superficially distance itself from

knowledge of misconduct while ensuring harassers can operate unimpeded. This is

not a neutral engineering choice, but a deliberate effort to plausibly deny awareness

of the rampant violations X Corp's architecture invites.



B. Actual and Constructive Knowledge

X Corp's willful blindness defense is further foreclosed by the overwhelming

evidence of its actual and constructive knowledge of the infringement at issue. From

the complaint properly served on its registered agent to multiple rounds of email

and chat communications to the provision of granular takedown notices to the video

recordings submitted with this filing, X Corp has received notification of these

violations through every conceivable channel. No reasonable observer could

conclude the company remains unaware of the repeat offenses or the features of its

own product that perpetuate them. X Corp's continued inaction in the face of this
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knowledge telegraphs that its true priority lies in protecting abusers rather than

victims.



III. EVASIVE LITIGATION CONDUCT

A. Retaliatory Selective Enforcement

X Corp's response to being held accountable in this action speaks volumes about its

bad faith approach to content moderation and user protection. Rather than

deploying its vast resources to investigate Plaintiff's extensively documented

claims, X Corp retaliated by arbitrarily unsuspending Plaintiff's account after

months of inaction - an about-face clearly intended to disrupt Plaintiff's standing in

this litigation. Such blatantly selective enforcement confirms X Corp's two-faced

content policies serve as a sword to punish disfavored speech and a shield to

immunize preferred parties.



B. Systematic Suppression of Accountability

Far more insidious than any single act of retaliation, X Corp has simultaneously

overhauled its user agreements to erect new procedural barriers carefully calculated

to prevent future plaintiffs from holding it accountable for the scourges of

infringement, harassment, and abuse its profit model is built on. From truncated

limitations periods to obscure venue restrictions to mandatory waivers of core user

rights, these oppressive contract terms are unmistakably designed to elevate X

Corp's commercial interest in impunity over its ethical duty to safeguard the
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community it serves. The fact that X Corp was laser-focused on rolling back user

protections at the very moment it was confronted with the real-world ramifications

of its negligent stewardship speaks to its true priorities when the veil of public

relations is lifted.



C. Prioritizing Liability Over Responsible Stewardship

At every turn, X Corp has revealed its determination to limit its own liability

exposure and foreclose avenues of user redress, no matter how much damage is

done to its user base in the process. Rather than investing in good-faith reforms to

its abusive platform architecture or evenhanded enforcement of its community

standards, the company has devoted its legal sophistication to staying one step

ahead of accountability though recursively more draconian terms of service. That X

Corp feels the need to resort to such legalistic self-protection instead of addressing

the root enablers of harassment on its platform is a telling indication that it knows

its conduct cannot withstand scrutiny. This is the behavior of an enterprise that

recognizes its indifference to user welfare is indefensible on the merits.

https://legal.x.com/en/purchaser-terms.html



D. Structural Betrayal of User Trust

Put simply, this is not how a company that believed in its own righteousness would

behave. The X Corp of today sadly bears little resemblance to the once-idealistic

startup that publicly championed free expression, user autonomy, and transparent
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moderation. Now, as a cynical industry incumbent laser-focused on maximizing

engagement at any cost, X Corp acts like a company with everything to hide and

nothing to be proud of. Its every move in this litigation, from its use of suspension

as a retaliatory weapon to its promulgation of a labyrinthine liability-laundering

user agreement, has been calibrated to maintain a sanitized public image while

trampling on user rights behind the scenes. The result is a textbook example of the

unaccountable corporate overreach the internet's founding visionaries warned us

about.



IV. COMPOUNDED PERSONAL HARMS

The human toll of X Corp's misconduct cannot be overstated. With every day that

the company deliberately fails to act against infringement it has been made aware

of and has the technical capacity to prevent, it empowers malicious actors to inflict

grievous personal and professional wounds on Plaintiff. From the ceaseless anguish

of being impersonated by a hateful doppelganger to the incalculable reputational

stain of having one's name and likeness associated with harassment to the loss of

economic opportunity that flows from an inability to control one's online identity, X

Corp's choices have ravaged Plaintiff's well-being and dignity. No one should have to

endure such comprehensive violations of their privacy, voice, and self-determination

simply to participate in the digital public square.



V. RELIEF REQUESTED
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In light of X Corp's escalating misconduct and the catastrophic individual and

societal harms it has wrought, Plaintiff renews his request for:



A. An immediate injunction compelling X Corp to:

1) Permanently remove all content that infringes Plaintiff's copyright or

misappropriates his likeness

2) Suspend and ban the accounts responsible for these repeat offenses

3) Implement proactive monitoring and filtering protocols to prevent the reposting

of infringing material

4) Reform and redesign platform features that conceal harassment from victims and

facilitate abuse



B. Compensatory and enhanced damages including:

1) The maximum statutory damages available for X Corp's willful and repeat

infringements

2) Actual damages for the severe emotional, reputational, and economic injuries

directly attributable to X Corp's misconduct and deliberate inaction

3) Punitive damages at a level sufficient to strip X Corp of the profits it derived

from its choice to tolerate and enable abusive conduct, and to deter the company

from perpetuating its harmful practices going forward



C. Continuing court supervision and jurisdiction over:
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1) X Corp's pattern of revising its user contracts to suppress accountability and user

rights

2) The company's compliance with all ordered injunctive relief, including technical

and architectural changes to its platform

3) The implementation of and adherence to robust anti-harassment protocols and

repeat infringer policies



D. Any other legal or equitable relief within the power of this Court to grant that

would vindicate Plaintiff's rights, prevent further irreparable harm, and send an

unambiguous message that the abuse and exploitation of the digital public trust

will not be tolerated under the law.



I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, and that proper service was executed on X Corp through its

registered agent as documented in the record.



Respectfully submitted,

Justin Riddle

402-813-2156
